Case 0:20-cv-60885-PMH Document 77 Entered on FLSD Docket 07/26/2023 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                              CASE NO. 20-60885-CIV-HUNT

                                      CONSENT CASE

  BRANDON THOMPSON,

               Plaintiff,

  v.

  FORT LAUDERDALE LAW GROUP
  SOUTH, PLLC,

             Defendant.
  __________________________________/

                                           ORDER

        THIS MATTER is before this Court on Plaintiff’s Second Motion to Enforce

  Settlement, For Sanctions and Attorneys’ Fees and Costs Against Defendant, For In-

  Person Show Cause Hearing, And to Extend Time Period Court Has to Reserve/Maintain

  Jurisdiction (“Second Motion to Enforce”). ECF No. 76. Pursuant to the Parties’ consent,

  this case is before the undersigned for all proceedings, including trial and entry of final

  judgment. See ECF Nos. 68, 69.

        This case includes claims under the Fair Labor Standards Act (“FLSA”) for alleged

  violations of the statutory wage and overtime provisions. See 29 U.S.C. § 201, et seq.

  ECF No. 1. The Parties reached a settlement and submitted the settlement agreement

  for this Court’s approval.   ECF No. 63.     The undersigned approved the settlement

  agreement, dismissed the case with prejudice, and retained jurisdiction to enforce the

  terms of the agreement for twenty-eight months from the date of dismissal. ECF No. 70.
Case 0:20-cv-60885-PMH Document 77 Entered on FLSD Docket 07/26/2023 Page 2 of 4




        Plaintiff previously moved this Court to enforce the settlement agreement against

  Defendant, to require Defendant to immediately pay the balance of all missed payments,

  and to instruct Defendant to ensure timely payments are made for the remaining

  payments. ECF No. 71. Plaintiff alleged that Defendant failed to make any payments

  after July 2022. Defendant did not respond to the previous motion, even after being

  ordered by the Court to do so. The undersigned granted the previous motion to enforce

  and ordered Defendant to make all overdue payments and timely make any remaining

  payments. ECF No. 75.

        Plaintiff, once again, moves this Court to enforce the settlement agreement,

  require Defendant to make all outstanding payments, and for a show-cause hearing. ECF

  No. 76. Plaintiff also requests that this Court continue to maintain jurisdiction over the

  agreement until Defendant complies with this Court’s previous order and the settlement

  agreement. Defendant has not responded to the Motion and the deadline to respond has

  passed.

        Prior to the court granting a Motion for an Order to Show Cause, the moving party

  must demonstrate by clear and convincing evidence that the “alleged contemnor violated

  a court's earlier order.” Peery v. City of Miami, 977 F.3d 1061, 1077 (11th Cir. 2020)

  (quotation omitted). “The clear and convincing evidence must establish that: (1) the

  allegedly violated order was valid and lawful; (2) the order was clear and unambiguous;

  and (3) the alleged violator had the ability to comply with the order.” Id. at 1076–77

  (quoting Riccard v. Prudential Ins. Co., 307 F.3d 1277, 1296 (11th Cir. 2002)). Once the

  moving party makes its prima facie showing, the burden then shifts to the alleged



                                              2
Case 0:20-cv-60885-PMH Document 77 Entered on FLSD Docket 07/26/2023 Page 3 of 4




  contemnor to produce evidence explaining its noncompliance at a show cause hearing.

  Id.; see also FTC v. Leshin, 618 F.3d 1221, 1232 (11th Cir. 2010).

         Here, Plaintiff has demonstrated that not only has Defendant failed to follow the

  terms of the settlement agreement but also that Defendant has failed to follow this Court’s

  Enforcement Order. This Court’s Order was valid, clear and unambiguous, and—without

  any evidence to suggest otherwise—Defendant had the ability to comply.                 The

  undersigned ordered Defendant to make all outstanding payments and ordered

  Defendant to timely make any remaining payments. Defendant failed to do so. Defendant

  also failed to alert the Court of any reasons for its failure. Therefore, Plaintiff’s Second

  Motion to Enforce, ECF No. 76, is GRANTED.

         Based on the foregoing, the undersigned ORDERS and ADJUDGES as follows:

            1. Defendant shall pay all outstanding payments, including the previously

                order attorneys’ fees and costs, no later than August 14, 2023.

            2. Plaintiff is also entitled to reasonable attorneys’ fees and costs associated

                with the Second Motion to Enforce.

            3. Further, a show cause hearing as to why Defendant should not be held in

                contempt and why Mr. Chris Paterson should not be sanctioned shall be

                scheduled for August 21, 2023, at 10:00 a.m. in Courtroom 310b.




                                               3
Case 0:20-cv-60885-PMH Document 77 Entered on FLSD Docket 07/26/2023 Page 4 of 4




           4. Lastly, counsel of record Mr. Jesse Ian Unruh is expected to attend the

               hearing or otherwise alert the Court why he has failed to respond to any

               Motions or Orders within this action.

           5. The undersigned shall retain jurisdiction over the agreement until Defendant

               is within compliance.

        DONE AND ORDERED in Chambers, at Fort Lauderdale, Florida, on July 26th, 2023.



                                          _____________________________________
                                          PATRICK M. HUNT
                                          UNITED STATES MAGISTRATE JUDGE


  Copies furnished to:
  All Counsel of Record




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